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 Reengineering II
More Opportunities for Self
         Service
      July 30, 2009



                Reengineering II Benefits Self Service                  1
                           Opportunities


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Quantifying the Self Service
Opportunity
   NYU has over $3 billion in assets in the 403(b)
    accounts at TIAA-CREF and Vanguard (all
    entities)
   The expense charges in the investment lineup are
    approximately $15.4 million per year
   By reducing to one vendor for administrative
    services, we can leverage the expense load to
    provide web support, call center and best in class
    fund lineup
   In order to do this, NYU needs to streamline &
    reduce the fund lineup and select one vendor as
    sole recordkeeper
   RFP issued to survey marketplace of vendors
    (Summer, 2009)
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Current State: Retirement Plan Enrollment



          Fill out forms                   NYU Benefits               Data entry to HRIS




                    TIAA CREF forms                   Vanguard Forms       Data in HRIS




                                 Tiaa                    Vanguard
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  Future State: Retirement Plan Service



                                          NYU HRIS/Payroll
EE enrolls & chooses funds
                                                                                     Paycheck


                           Vendor hosts online service center
                                                                                   Online tools


                                        NYU HOME
                                        Single sign on

                                                                                        Call
                                                                                       Cente
                                                                                         r
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Efficiency Gains in Benefits
   Elimination of paper enrollment process
   Elimination of benefits office paper handling,
    disbursement of forms, and data entry into HRIS
    system
   Elimination of forms maintenance on web and
    forms and kit warehousing
   Elimination of forms in NYU benefits files
    (reduces scanning costs)
   Default enrollment eliminates follow up on
    employees with incomplete paperwork
   Process redirects education and advice role to the
    vendor; questions about the plans features can
    also be directed to the call center

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Efficiency Gains in ITS & Payroll
 Elimination of the need to program plan
  design in Integral HRIS system
 Elimination of need to program and
  maintain IRS limit monitoring
 Simplification of Payroll to vendor
  remittance process




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Efficiency Gains: Employee
 Enrollment process with online educational
  tools that support all funds in lineup in
  one convenient self service location
 Call Center Staff Dedicated to NYU plans
  who know NYU details are a toll free
  phone call away
 Convenience of default enrollment
 Value: Employee time saved + employees
  start saving for retirement sooner


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Efficiency Gains: Employee
   Employee will receive a consolidated statement
   Employee can change contribution amounts
    online. No forms needed
   Employee can transfer money within the plan
    online between all funds on the platform
   Employee can determine overall return on
    investment
   Employee can select from an even broader range
    of funds by using the brokerage window



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Additional economic and fiduciary
advantages
   NYU as fiduciary develops an investment policy and monitors fund
    performance
   Once on the new sole recordkeeping platform, the assets are
    “map- able” by an investment committee. The new platform
    provides a relationship contract instead of the bundled contract
    suite
   Expenses are determined by how much revenue is needed to
    manage the NYU plan by the degree it needs to be managed
   Vanguard should be able to provide better share classes yielding
    higher returns based on the flows that are going into these funds.
   Savings can be used for investment monitoring and policy,
    communication, data feeds, the cost of the website and. some
    professional consulting.
   There will be new share classes which will result in significantly
    lower fee structures for the participant.
   Opportunity to access more funds than currently through the
    Brokerage Window18


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